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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                 FT. MYERS DIVISION

 DONIA GOINES,                                         Case No. 2:17-CV-00656-JES-CM


         Plaintiff,
 v.

 LEE MEMORIAL HEALTH SYSTEM
 d/b/a CAPE CORAL HOSPITAL; and
 JEOVANNI HECHAVARRIA, RN,

       Defendants.
 _________________________________/

                          AMENDED COMPLAINT FOR DAMAGES

       The Plaintiff, DONIA GOINES, individually, with agreement from Defendant to file this

Amended Complaint, sues Defendants, LEE MEMORIAL HEALTH SYSTEM d/b/a CAPE

CORAL HOSPITAL, and JEOVANNI HECHAVARRIA, RN, and allege:


        JURISDICTIONAL STATEMENT AND IDENTIFICATION OF PARTIES

       1.       This is an action for damages in excess of this Court’s minimum jurisdictional

limits, exclusive of interest and costs.

        2.      Venue is proper in Lee County, Florida, where one or more of the Defendants

reside and the events giving rise to this action occurred. The Defendant, LEE MEMORIAL

HEALTH SYSTEM, previously removed this case to federal court pursuant to 28 U.S.C. Section

1441 due to the presence of a federal question.


                                                                            Plaintiff's
                                                                           Exhibit "A"
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       3.       At the time of the acts at issue in this case, Plaintiff DONIA GOINES was a resident

of Lee County, Florida.

       4.       Defendant LEE MEMORIAL HEALTH SYSTEM d/b/a CAPE CORAL

HOSPITAL is a public health care system codified under Chapter 63-1552 and 78-552, Laws of

Florida, as amended.

       3.       The operation and maintenance of the public health system, and the construction of

health system facilities provided for in its codifying Act are declared to be a public purpose.

       4.       Lee Memorial Health System is a special purpose unit of local government.

       5.       LEE MEMORIAL HEALTH SYSTEM is classified as an independent special

district under the laws of Florida. The original Enabling Act (Chapter 63-1552, Laws of Florida,

Special Act, 1963) was enacted in 1963 and amended several times since 1963. Chapter 2000-439

constitutes a codification required by Florida Law and is the current Enabling Act.

       6.       LEE MEMORIAL HEALTH SYSTEM operates a hospital in Ft. Myers, Florida

known as CAPE CORAL HOSPITAL.

       7.       JEOVANNI HECHAVARRIA was a Registered Nurse who, at all times relevant

to this claim, was an employee, agent, and/or servant of LEE MEMORIAL HEALTH SYSTEM.


                       FACTS GIVING RISE TO CAUSE OF ACTION

       8.       In the evening of July 15, 2016, DONIA GOINES was an admitted patient at CAPE

CORAL HOSPITAL.

       9.       DONIA GOINES’ admission at CAPE CORAL HOSPITAL continued into July 16

and 17, 2016.
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       10.    JEOVANNI HECHAVARRIA, RN was assigned to be DONIA GOINES’ night

nurse on the evening of July 16, 2017.

       11.    Medical records of DONIA GOINES reveal that JEOVANNI HECHAVARRIA,

RN was in her hospital room at 10:09 p.m. on July 16, 2016, and at 1:44 a.m., 3:57 a.m., 6:52

a.m., and 6:56 a.m. on July 17, 2016.

       12.    In or about March 2015, a female patient at CAPE CORAL HOSPITAL filed a

police report and informed the staff and management of LEE MEMORIAL HEALTH SYSTEM

that she had been sexually assaulted by JEOVANNI HECHAVARRIA, RN while she was a patient

at CAPE CORAL HOSPITAL.

       13.    LEE MEMORIAL HEALTH SYSTEM knew about the March 2015 sexual assault

conducted by JEOVANNI HECHAVARRIA, RN and did not terminate his employment with LEE

MEMORIAL HEALTH SYSTEM.

       14.    After the March 2015 sexual assault was reported to LEE MEMORIAL HEALTH

SYSTEM, JEOVANNI HECHAVARRIA, RN faced no disciplinary action, he was provided no

additional training, he was provided no additional supervision, and his access to female hospital

rooms was not limited.

       15.    After the March 2015 sexual assault, but before the July 2016 sexual assault of

DONIA GOINES, LEE MEMORIAL HEALTH SYSTEM never reported JEOVANNI

HECHAVARRIA, RN to the Florida Department of Health regarding the 2015 sexual assault.

       16.    LEE MEMORIAL HEALTH SYSTEM permitted JEOVANNI HECHAVARRIA,

RN to have unrestricted and unsupervised access to female patients’ hospital rooms, including

DONIA GOINES’, even after allegations of prior sexual assaults were made against him.
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       17.     In the evening of July 16, 2016, JEOVANNI HECHAVARRIA, RN entered

DONIA GOINES’ hospital room and sexually assaulted her by placing his fingers in her vagina.

JEOVANNI HECHAVARRIA, RN proceeded to further sexually assault DONIA GOINES by

having vaginal sex with her against her will.

       18.     To keep DONIA GOINES from screaming, JEOVANNI HECHAVARRIA, RN

placed his hand over her mouth and told her:

               a. “I’m a nurse and I have access to your chart, if you tell, I know

                   where you live”;

               b. “If you tell, you are going to be in trouble”; and

               c. “I am working tonight and I am coming back for you”.

       19.     Additionally, because she was admitted to the hospital partially as a result of pain,

DONIA GOINES was under the influence of pain medication which made her physically and

mentally vulnerable and susceptible to attack.

       20.     After JEOVANNI HECHAVARRIA, RN’s shift ended on July 17, 2016, DONIA

GOINES informed the day shift nurse that she was sexually assaulted.

       21.     The Cape Coral police and hospital security investigated the claims of DONIA

GOINES.

       22.     JEOVANNI HECHAVARRIA, RN was eventually arrested and has been charged

with the sexual assault of DONIA GOINES.

       23.     JEOVANNI HECHAVARRIA, RN used his position as a nurse to physically and

mentally abuse and sexually assault patients at CAPE CORAL HOSPITAL.
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                                   COUNT I
                  CLAIM AGAINST LEE MEMORIAL HEALTH SYSTEM
                      VIOLATION OF 42 U.S.C.A. SECTION 1983

        The Plaintiff reallege and reaffirm each and every allegation contained in paragraphs 1

through 23 of this Complaint as if fully asserted herein.

        24.     At all times while Plaintiff was within the exclusive custody and care of LEE

MEMORIAL HEALTH SYSTEM, Plaintiff had the constitutional right to personal security and

bodily integrity, including the right to be free from sexual abuse and sexual assault.

        25.     LEE MEMORIAL HEALTH SYSTEM, acting under color of state law and acting

as a public health care system codified under Chapter 63-1552 and 78-552, Laws of Florida, as

amended, deprived the Plaintiff of her rights guaranteed by the United States Constitution, (as

recognized in 42 U.S.C. Section 1983), in that JEOVANNI HECHAVARRIA, RN sexually abused

and sexually assaulted the Plaintiff.

        26.     LEE MEMORIAL HEALTH SYSTEM evidenced deliberate indifference to

Plaintiff by its policy of failing to supervise JEOVANNI HECHAVARRIA, RN and through its

policy of not making reasonable investigations into complaints reported by other patients regarding

sexual abuse and sexual assault committed by JEOVANNI HECHAVARRIA, RN.

        27.     The need to take action and control, investigate, discipline, supervise and remedy

JEOVANNI HECHAVARRIA, RN for his wrongdoing was obvious and the inadequacy of the

existing policies and practices relating to JEOVANNI HECHAVARRIA, RN was likely to result

in the violation of constitutional rights.

        28.     LEE MEMORIAL HEALTH SYSTEM employed JEOVANNI HECHAVARRIA,

RN as a full-time registered nurse. At all times material hereto, LEE MEMORIAL HEALTH

SYSTEM failed to take effective action as the employer of JEOVANNI HECHAVARRIA, RN by
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failing to oversee or restrain his conduct; failing to implement policies and procedures for the

lodging of complaints against JEOVANNI HECHAVARRIA, RN for sexual abuse and assault,

failing to enact or promulgate sufficient policies or procedures to ensure against sexual abuse or

sexual assault by JEOVANNI HECHAVARRIA, RN; and by failing to promulgate corrective

policies and regulations.

       29.     Further, LEE MEMORIAL HEALTH SYSTEM failed to properly investigate and

discipline JEOVANNI HECHAVARRIA, RN who was reported to have sexually abused and

sexually assaulted other patients, and the continuing failure of LEE MEMORIAL HEALTH

SYSTEM to investigate and prevent known constitutional violations by JEOVANNI

HECHAVARRIA, RN was and is a municipal policy and custom of deliberate indifference and a

ratification and/or acquiescence of such misconduct.

       30.     LEE MEMORIAL HEALTH SYSTEM allowed a custom or practice to exist

within the LEE MEMORAL HEALTH SYSTEM wherein JEOVANNI HECHAVARRIA, RN

utilized his authority without fear of investigation and without fear of disciplinary action for his

misconduct.

       31.     LEE MEMORIAL HEALTH SYSTEM was on notice of the need to supervise

JEOVANNI HECHAVARRIA, RN to ensure against sexual abuse and sexual assault of patients.

LEE MEMORIAL HEALTH SYSTEM having knowledge of JEOVANNI HECHAVARRIA,

RN’s misconduct, failed to adequately supervise him or warn the public of the potential threat

posed by JEOVANNI HECHAVARRIA, RN.

       32.     These policies of inadequate supervision and of inaction towards the investigation

of complaints reported by other patients regarding sexual abuse and sexual assault committed by

JEOVANNI HECHAVARRIA, RN is believed to not only constitute deliberate indifference to the
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rights of persons JEOVANNI HECHAVARRIA, RN came into contact with but was also an

express policy.

       33.        The de facto policies, customs, and practices complained of were the moving force

behind the deprivation of Plaintiff’s constitutional rights.

       34.        42 U.S.C. Section 1983 provides a remedy for violation of these rights.

       35.        As a proximate result, Plaintiff, was physically and sexually abused and assaulted,

and suffered bodily injury and resulting pain and suffering, mental anguish, loss of capacity for

the enjoyment of life, past, present, and future emotional and physical distress, extreme emotional,

mental and psychological injury, embarrassment, humiliation, shame, all of which exist to this day

and will continue in the future.

       36.        Attorney’s fees and costs are sought pursuant to 42 U.S.C. Section 1988.

       WHEREFORE, Plaintiff, demands judgment for damages, interest, and costs, against LEE

MEMORIAL HEALTH SYSTEM, and a jury trial on all issues so triable as a matter of right.


                                    COUNT II
                   CLAIM AGAINST LEE MEMORIAL HEALTH SYSTEM
                             NEGLIGENT RETENTION

       The Plaintiff reallege and reaffirm each and every allegation contained in paragraphs 1

through 23 of this Complaint as if fully asserted herein.

       37.        Before the sexual abuse and sexual assaults were committed against Plaintiff,

Defendant LEE MEMORIAL HEALTH SYSTEM, was aware and/or was put on notice of the

potentially harmful propensities of JEOVANNI HECHAVARRIA, RN.

       38.        Plaintiff was within the zone of foreseeable risk created by LEE MEMORIAL

HEALTH SYSTEM employment of JEOVANNI HECHAVARRIA, RN since LEE MEMORIAL
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HEALTH SYSTEM received complaints of sexual abuse, sexual assault and other improper

conduct by JEOVANNI HECHAVARRIA, RN from other female patients prior to the sexual

abuse and sexual assault committed against Plaintiff, but LEE MEMORIAL HEALTH SYSTEM

failed to investigate or take any measures to prevent such acts of sexual abuse, sexual assault or

improper conduct.

       39.     Even after obtaining knowledge of the harmful propensities of JEOVANNI

HECHAVARRIA, RN, LEE MEMORIAL HEALTH SYSTEM allowed JEOVANNI

HECHAVARRIA, RN to remain a night nurse thereby endangering patients such as Plaintiff.

       40.     LEE MEMORIAL HEALTH SYSTEM owed Plaintiff a duty to terminate and/or

discipline nurses that were unfit, unqualified and/or did not have the disposition to be in contact

with female patients or patients at-large.

       41.     LEE MEMORIAL HEALTH SYSTEM breached these duties to the Plaintiff by:

               a. Failing     to    discharge,   terminate      or   reassign   JEOVANNI

                    HECHAVARRIA, RN before he came into contact with Plaintiff; and

               b. After receiving notice of the incidents and history of sexual abuse and

                    sexual assault by JEOVANNI HECHAVARRIA, RN, allowing him to

                    continue in his job duties and functions.

       42.     As a proximate result, Plaintiff, was physically and sexually abused and assaulted,

and suffered bodily injury and resulting pain and suffering, mental anguish, loss of capacity for

the enjoyment of life, past, present, and future emotional and physical distress, extreme emotional

mental and psychological injury, embarrassment, humiliation, shame, all of which exist to this day

and will continue in the future.

       WHEREFORE, Plaintiff, demands judgment for damages, interest, and costs, against LEE
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MEMORIAL HEALTH SYSTEM, and a jury trial on all issues so triable as a matter of right.


                                  COUNT III
                 CLAIM AGAINST LEE MEMORIAL HEALTH SYSTEM
                           NEGLIGENT SUPERVISION

       The Plaintiff reallege and reaffirm each and every allegation contained in paragraphs 1

through 23 of this Complaint as if fully asserted herein.

       43.     Before the sexual abuse and sexual assaults were committed against Plaintiff,

Defendant LEE MEMORIAL HEALTH SYSTEM, was aware and/or was put on notice of the

potentially harmful propensities of JEOVANNI HECHAVARRIA, RN.

       44.     Plaintiff was within the zone of foreseeable risk created by LEE MEMORIAL

HEALTH SYSTEM employment of JEOVANNI HECHAVARRIA, RN since LEE MEMORIAL

HEALTH SYSTEM received complaints of sexual abuse, sexual assault and other improper

conduct by JEOVANNI HECHAVARRIA, RN from other female patients prior to the sexual

abuse and sexual assault committed against Plaintiff, but LEE MEMORIAL HEALTH SYSTEM

failed to investigate or take any measures to prevent such acts of sexual abuse, sexual assault or

improper conduct.

       45.     Even after obtaining knowledge of the harmful propensities of JEOVANNI

HECHAVARRIA, RN, LEE MEMORIAL HEALTH SYSTEM allowed JEOVANNI

HECHAVARRIA, RN to remain a night nurse thereby endangering patients such as Plaintiff.

       46.     LEE MEMORIAL HEALTH SYSTEM owed Plaintiff a duty to terminate and/or

discipline nurses that were unfit, unqualified and/or did not have the disposition to be in contact

with female patients or patients at-large.

       47.     LEE MEMORIAL HEALTH SYSTEM breached these duties to the Plaintiff by:
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                a. Allowing JEOVANNI HECHAVARRIA, RN to have unsupervised and

                    unfettered access to female patients while in the hospital when the

                    hospital knew that other patients previously complained that he sexually

                    assaulted them.

        48.     As a proximate result, Plaintiff, was physically and sexually abused and assaulted,

 and suffered bodily injury and resulting pain and suffering, mental anguish, loss of capacity for

 the enjoyment of life, past, present, and future emotional and physical distress, extreme emotional

 mental and psychological injury, embarrassment, humiliation, shame, all of which exist to this day

 and will continue in the future.

        WHEREFORE, Plaintiff, demands judgment for damages, interest, and costs, against LEE

 MEMORIAL HEALTH SYSTEM, and a jury trial on all issues so triable as a matter of right.


                                   COUNT IV
                  CLAIM AGAINST LEE MEMORIAL HEALTH SYSTEM
                                 NEGLIGENCE

        The Plaintiff reallege and reaffirm each and every allegation contained in paragraphs 1

 through 23 of this Complaint as if fully asserted herein.

        49.     At all times material hereto the LEE MEMORIAL HEALTH SYSTEM, as the

 owner and/or operator of CAPE CORAL HOSPITAL, owed a duty of care to its business invitees,

 specifically including the Plaintiff, to protect them and her against reasonably foreseeable criminal

 acts committed by their employees and/or third parties occurring on its property

        50.     At all times material hereto, prior to the sexual assault that is the subject of this

 action, other incidents of unwarranted, inappropriate, and improper sexual assaults and sexual

 violence had occurred on female patients by male staff members and/or male employees so that
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 such conduct was sufficiently well known and occurred with sufficient frequency so that the LEE

 MEMORIAL HOSPTIAL knew and/or should have known of this at the time the Plaintiff was a

 patient, and therefore owed her a duty of care to protect her from such sexual assaults and should

 have taken steps and actions to prevent it from occurring.

         51.    At all times material hereto, LEE MEMORIAL HEALTH SYSTEM, was careless

 and negligent and breached its duties of care owed to the Plaintiff by failing to take reasonable,

 necessary and adequate steps to protect her from being sexually assaulted and sexually violated by

 JEOVANNI HECHAVARRIA, RN.

         52.    As a direct and proximate result of the foregoing, the Plaintiff was sexually

 assaulted, sexually violated, has suffered and will continue to suffer severe and permanent

 physical, emotional, and psychological injuries and trauma, for which she seeks compensation in

 this action.

         WHEREFORE, Plaintiff, demands judgment for damages, interest, and costs, against LEE

 MEMORIAL HEALTH SYSTEM, and a jury trial on all issues so triable as a matter of right.


                                   COUNT V
                  CLAIM AGAINST LEE MEMORIAL HEALTH SYSTEM
                              NEGLIGENT HIRING

         The Plaintiff reallege and reaffirm each and every allegation contained in paragraphs 1

 through 23 of this Complaint as if fully asserted herein.

         53.    Plaintiff was within the zone of foreseeable risk created by LEE MEMORIAL

 HEALTH SYSTEM’s employment of JEOVANNI HECHAVARRIA, RN.

         54.    At the time of the sexual assault, Plaintiff was an admitted and isolated female

 patient who was under the influence of narcotic pain medication. As such, Plaintiff was a
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 vulnerable individual who would make an easy target for an individual attempting to sexually

 assault her.

         55.    LEE MEMORIAL HEALTH SYSTEM failed to implement policies and/or

 procedures regarding the hiring of employees to ensure that vulnerable patients were protected and

 secure from physical assault and harm.

         56.    LEE MEMORIAL HEALTH SYSTEM failed to make an adequate investigation

 into its employee’s, JEOVANNI HECHAVARRIA, RN, background prior to hiring him. Had LEE

 MEMORIAL HEALTH SYSTEM done so, it would have discovered that JEOVANNI

 HECAVARRIA was unfit to be hired as a night nurse.

         57.    LEE MEMORIAL HEALTH SYSTEM owed Plaintiff a duty to ensure that she

 would be safe and free from physical assault and harm and that its’ employees were of the

 disposition that patients under their care were safe and free from harm and sexual assault.

         58.    LEE MEMORIAL HEALTH SYSTEM breached these duties to the Plaintiff by:

                a. Failing to perform an adequate background check on JEOVANNI

                    HECHAVARRIA, RN;

                b. Failing to contact individuals with important information and

                    knowledge       regarding   the   violent   disposition   of   JEOVANNI

                    HECHAVARRIA, RN.

         59.    As a proximate result, Plaintiff, was physically and sexually abused and assaulted,

 and suffered bodily injury and resulting pain and suffering, mental anguish, loss of capacity for

 the enjoyment of life, past, present, and future emotional and physical distress, extreme emotional

 mental and psychological injury, embarrassment, humiliation, shame, all of which exist to this day

 and will continue in the future.
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        WHEREFORE, Plaintiff, demands judgment for damages, interest, and costs, against LEE

 MEMORIAL HEALTH SYSTEM, and a jury trial on all issues so triable as a matter of right.


                                    COUNT VI
                     CLAIM AGAINST JEOVANNI HECHAVARRIA, RN
                              ASSAULT AND BATTERY

        The Plaintiff reallege and reaffirm each and every allegation contained in paragraphs 1

 through 23 of this Complaint as if fully asserted herein.

        60.     As     more   fully   set   forth   hereinabove,     the   Defendant,    JEOVANNI

 HECHAVARRIA, RN, sexually assaulted and sexually violated the Plaintiff.

        61.     At all times material hereto, the actions and conduct of the Defendant, JEOVANNI

 HECHAVARRIA, RN, in sexually assaulting the Plaintiff, were without the permission and/or

 consent of the Plaintiff.

        62.     At all times material hereto, the actions and conduct of the Defendant, JEOVANNI

 HECHAVARRIA, RN, in sexually assaulting the Plaintiff, were unwarranted and without any

 legal or moral justification. The Plaintiff had an apprehension of unwanted touching caused by

 Defendant, JEOVANNI HECHAVARRIA, RN.

        63.     JEOVANNI HECHAVARRIA, RN committed a battery when he, without consent,

 made sexual contact with the Plaintiff.

        64.     The Plaintiff’s apprehension of unwanted touching was caused directly by

 Defendant, JEOVANNI HECHAVARRIA, RN.

        65.     As a direct and proximate result of the foregoing, the Plaintiff, has suffered and will

 continue to suffer severe and permanent physical, emotional, and psychological injuries and

 trauma, for which she seeks compensation in this action.
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        WHEREFORE, Plaintiff, demands judgment for damages, interest, and costs, against

 JEOVANNI HECHAVARRIA, RN, and a jury trial on all issues so triable as a matter of right.


                         CLAIMS FOR DAMAGES FOR ALL COUNTS

        66.     As a direct and proximate result of the aforementioned violations of civil rights, as

 well as the negligence of the Defendants, which caused the injuries of DONIA GOINES, the

 Plaintiffs set forth below the listed claims.


                           CLAIM ON BEHALF OF DONIA GOINES

        67.     As a direct and proximate result of the violations of civil rights, as well as the

 negligence of the Defendants, that caused the injuries to DONIA GOINES, the Plaintiff has in the

 past and will in the future continue to suffer:

                a. Mental pain and suffering from the date of the incident into the future;

                b. Loss of capacity for the enjoyment of life in the past and into the future;

                c. Disability and physical impairment;

                d. Value of medical expenses in the past and into the future;

        68.     The Plaintiff’s, DONIA GOINES, injuries are either permanent or continuing in

 nature and the Plaintiff will suffer the aforementioned losses and impairment in the future.

        WHEREFORE, the Plaintiff demands judgment for damages against Defendants and

 demand a trial by jury of all issues so triable by law and such other relief this Court may deem

 appropriate.
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                                 CERTIFICATE OF SERVICE
        I certify that on April ______, 2018, I electronically filed with the Clerk of Court this

 Motion and will send electronic copy hereof to the following:

    Angelique Groza Lyons, Esq.                      JEOVANNI H. HECHAVARRIA, RN
    CONSTANGY, BROOKS, SMITH &                       Pro se Defendant
    PROPHETE, LLP                                    5320 Summerlin Road, Unit 9
    100 North Tampa Street, Suite 3350               Fort Myers, FL 33919
    Post Office Box 1840                             JHHechavarria@gmail.com;
    Tampa, Florida 33601-1840
    ALyons@constangy.com;
    Tampa@constangy.com;

                                             Respectfully submitted,
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                                             Barristers Building
                                             1615 Forum Place, Suite 3-B
                                             West Palm Beach, FL 33401
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                                             BY:____________________________
                                                  RYAN A. FOGG (68773)
